* Case 2:14-mj-30362-DUTY. ..~GF No filed 07/22/14 PagelD.1 Page 1 of 12
— ODALC. MA "AtSH: Frances Lee Carlson Telephone: 313-226-9696

SP !
\ mL . . Special Agent; Mark A. Kroger Telephone: 313-965-5375 ¢
AQ’S1 (Rev, 08/09} Criminal Complaint
. LC

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

United States of America,

v ants Case:2:14-mj-30362
Judge: Unassigned,
FAD! HAMMOUD Filed: 07-22-2014 At 11:55 AM
RE: SEALED MATTER (EQB)
Defendant(s).

 

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

 

 

 

On or about the date(s) of September 2011-April 2013 , in the county of Wayne
in the Eastern District of Michigan . , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1341 Mail Fraud
18 U.S.C. § 1343 Wire Fraud

This criminal complaint is based on these facts:

See Attached Affidavit.

i] Continued on the attached sheet.

I
. v
Complainan] |s signature

| JUL 2 2 20K Special Agent Mark A. Kroger

CLERK'S OFFICE Printed name and title
DETROIT

Sworn to before me and signed in my présénce. .
Date: TIRIN \_ Lo J —

Judge's signature

City and state: Detroit, Michigan __ _

a Magistrate Judge David R, Grand
Printed name and title
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AFFIDAVIT

I, Mark A. Kroger, being duly sworn, depose and state the following:

1. Since 2012, I have been employed as a Special Agent of the Federal Bureau of
Investigation (FBI). I am currently assigned to the Detroit Office of the FBI, and my duties
include investigating criminal violations including bank and wire fraud. Prior to working with
the FBI, I was a mortgage banker for five years.

2. The facts set forth in this affidavit are based on my personal knowledge and
investigation, which includes reviewing documents and records, and interviewing individuals
having direct knowledge of these events. Because this affidavit is being submitted for the
limited purpose of establishing probable cause, I have not included each and every fact known
to me concerning this investigation. Rather, I have set forth only the facts that I believe are
necessary to establish probable cause to believe that FADI HAMMOUD knowingly executed a
scheme to obtain funds under the custody and control of a financial institution by means of
false or fraudulent pretenses, representations, or promises, in violation of 18 U.S.C. § 1344
(bank fraud) and knowingly executed a scheme to obtain money by means of false or
fraudulent pretenses, representations, or promises, through the use of the Postal Service, in
violation of 18 U.S.C. § 1341 (mail fraud).

3. In September 2012, the Detroit office of the FBI initiated an investigation into short
sale and insurance fraud schemes being perpetrated by HAMMOUD, a resident of Dearborn,
Michigan. The schemes involved the fraudulent short sale of HAMMOUD’s personal
residence located at 7601 Miller Road, Dearborn, Michigan in 2012, and a fraudulent

insurance claim submitted by HAMMOUD in January 2013 for water damage sustained as a
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result of flood damage inside that residence.

4, In 2011 and 2012, HAMMOUD devised and executed a scheme to defraud Wells
Fargo Bank by fraudulently selling his primary residence via short sale to an acquaintance he
recruited to act as a strawbuyer. The purpose of the scheme was to lower HAMMOUD’s debt
obligation and retain the home as his primary residence, after defaulting on his mortgage in
July 2011. In furtherance of and to conceal his schemes, HAMMOUD used the strawbuyer and
relatives to keep records out of his name, facilitate financial transactions, and to file a
fraudulent insurance claim. HAMMOUD also used several limited liability companies that he
controlled or owned to facilitate and conceal his schemes. These companies included: Prompt
Property Service; Quick Financial, and United Realty Group. The fraudulent short sale
resulted in a loss of approximately $138,563 to Wells Fargo, a federally-insured financial
institution. The fraudulent insurance claim resulted in a loss of approximately $347,748 to
Grange Insurance.

Fraudulent Short Sale of 7601 Miller Road, Dearborn, MI

5. In November 2007, HAMMOUD obtained a $342,000 mortgage from Wachovia
Bank to purchase 7601 Miller Road, Dearborn, Michigan. In 2008, Wells Fargo, a federally
insured financial institution, acquired Wachovia Bank. In July 2011, HAMMOUD defaulted
on the mortgage. In August 2011, HAMMOUD began attempting to negotiate a short sale with
Wells Fargo. There was also a second mortgage of $80,000 held by National City Bank.

6. 1 obtained documents from Wells Fargo related to the short sale of 7601 Miller
Road. Many of these documents were faxed from United Realty Group and Quick Financial to
Wells Fargo. During the course of the investigation, [ have reviewed numerous documents

containing HAMMOUD’s handwriting, and based on my review, the short sale documents

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faxed to Wells Fargo contained handwriting I recognize as FAMMOUD’s, evidencing his
involvement in the facilitation and negotiation of the short sale. Business entity documents
filed with the State of Michigan for United Realty and Quick Financial ist HAMMOUD as the
owner of both companies.

7. From August 2011 through March 2012, multiple purchase agreements were
signed by the seller, HAMMOUD, and buyer, Billy Mukhal (Mukhal). The purchase
agreements were faxed from Quick Financial and United Realty to Wells Fargo. The purchase
agreements started as low as $125,000 and by closing, had increased to $226,000. In a hardship
letter to Wells Fargo dated March 2012, HAMMOUD explained the value of 7601 Miller Road
was “only worth about $125,000 today.” Investigation revealed that Wells Fargo valued the
home at approximately $220,000, which was the basis for the increase in final sales price.
Based on my training and experience, the various purchase agreements were HAMMOUD’s
attempts to purchase the house back from Wells Fargo at an artificially low price.

8. On February 1, 2013, I interviewed Dennis Brooks (Brooks), President of Satori
Corporation (Satori), which is a hard money lender. Brooks advised that in approximately May
2012, HAMMOUD approached him for a loan to buy his house back from the bank.
HAMMOUD told Brooks he believed he could buy the house back for $150,000, but that it
was worth $300,000. Brooks later learned from HAMMOUD that Wells Fargo valued the
home at approximately $225,000 and would not sell it for less than that amount.

9. In July 2012, HAMMOUD told Brooks that he was going to sell the house to
Mukhal because the bank would not sell it to him directly. Later that month, Brooks issued a
loan commitment in the name of Mukhal for $125,000. The loan was a six-month balloon note

maturing in February 2013. Mukhal told Brooks that he would pay the difference between the

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sales price ($226,000) and Satori’s loan ($125,000) with cash from his business, R&B
Detailing (R&B).

10. On August 2, 2012, a closing was held for 7601 Miller Road. At closing, Brooks
noticed that Mukhal had obtained a second mortgage from Axiom Investment Corporation
(Axiom) instead of bringing his own cash. Mukhal told Brooks that he obtained the second
mortgage because he needed to keep the cash in his business. At the time of closing,
HAMMOUD’s nephew, Hussein Hammoud was the owner of record of Axiom. Axiom’s bank
records show that prior to closing, HAMMOUD deposited checks and cash into Axiom’s bank
account in order to accumulate the necessary funds for closing.

11. On August 1 and 2, 2012, two cashier’s checks listing Axiom as the remitter
($95,000 and $2,228) were drawn on Axiom’s bank account. According to Mukhal,
HAMMOUD brought these checks to closing. On March 11, 2013, paperwork was filed with
the State of Michigan and Comerica Bank designating the official transfer of the ownership of
Axiom and its bank account to HAMMOUD.

12. On June 4, 2012 (prior to Wells Fargo approving the short sale) and on August 2,
2012 (the day of the closing), HAMMOUD and Mukhal signed a Short Sale Affidavit. The
affidavit states that the signatories “hereby certify and affirm under penalty of perjury, that to
the best of their knowledge and belief; a) The sale of the Mortgaged Premises is an “arm’s
length” transaction, between the parties who are unrelated and unaffiliated by family,
marriage, or commercial enterprise; b) There are no agreements, understandings or contracts
between the parties that the Seller will remain in the Mortgaged Premises as a tenant or later
obtain title or ownership of the Mortgaged Premises; ...d) There are no agreements,

understandings or contracts relating to the current sale or subsequent sale of the Mortgaged

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Premises that have not been disctosed to the Lender; ...i) the property will not be rented to the
Seller after the closing of the subject real estate purchase contract.”

13. On February 21, 2013, Brooks voluntarily recorded a meeting with HAMMOUD.
The purpose of this meeting was to discuss the loan in Mukhal’s name since the balloon
payment was due. HAMMOUD stated that he owed Satori Corporation $125,000. When
Brooks suggested that Mukhal was the individual responsible for the mortgage, HAMMOUD
responded the he and Mukhal are “one person.” Brooks rejected HAMMOUD’s repeated
attempts to refinance the loan and requested that the mortgage be paid in full. Brooks then
asked HAMMOUD about the monthly payment on the loan, which was due. HAMMOUD
prepared a check in the amount of $1,000 and provided it to Brooks. The check was drawn on
R&B’s Comerica Bank account on which HAMMOUD and Mukhal were co-signers.

14. On March 13, 2014 and May 1, 2014, I interviewed Mukhal. Mukhal advised that
in approximately February 2012, HAMMOUD approached him and requested that Mukhal
allow HAMMOUD to put the title of 7601 Miller Road, Dearborn into Mukhal’s name for
approximately three to six months.

15. Inapproximately July 2012, HAMMOUD and Mukhal visited Brooks about a loan
to purchase the home. HAMMOUD completed the required paperwork to obtain a loan in
Muhkal’s name and handled the majority of the communication with Brooks.

16. HAMMOUD explained to Mukhal that it would be helpful in obtaining the loan for
Mukhal to form an LLC. At HAMMOUD’ direction, Mukhal formed R&B. HAMMOUD and
Mukhal went to Comerica Bank and opened a bank account as co-signers in the name of R&B.
Mukhal, a part-time car detailer, advised that he does not use the R&B bank account for

income earned from detailing cars or for any other purpose. Once the account was opened,

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HAMMOUD requested blank checks with Mukhal’s signature. Mukhal provided
approximately six checks which he signed and wrote the number $1,500.00 in the amount line.
The checks were later completed by HAMMOUD and used to pay the monthly loan payments
to Satori Corporation. Mukhal advised that he never moved into or resided at 7601 Miller Road
and that HAMMOUD possesses an unrecorded Quit Claim Deed transferring Mukhal’s
purported interest back to HAMMOUD.

17. On April 16, 2014, HAMMOUD visited Mukhal twice. HAMMOUD told Mukhal
that they would need to keep their stories “straight” and that he would “create” someone to buy
the house. HAMMOUD asked Mukhal not to speak to law enforcement.

18. | Mukhal voluntarily provided a recording of one of the meetings. In the recording,
HAMMOUD explained that he and Mukhal were “in the same boat” and that if HAMMOUD
were caught, then Mukhal would be too, HAMMOUD suggested that if questioned by the FBI,
Mukhal, should say that he was aware of the short sale and that he lived in the house for about
six months during which he asked HAMMOUD to help him with renovation and repairs to sell
the house. HAMMOUD believed that this story would convey the truth, but not give a clear
picture of who was living in the house since the laws prohibit any close association between
the buyer and the seller of a short sale home. HAMMOUD explained that he was talking to
Mukhal to warn him about what may be forthcoming and to be careful of his statements;
otherwise, they both may end up in jail. HAMMOUD promised to take Mukhal’s name off the
title to spare him any future problems. HAMMOUD said that he may be held accountable for
continuing to live at 7601 Miller Road. HAMMOUD believed the FBI was unsuccessful in
identifying the money trail even after investigating his bank accounts and title company

transactions. HAMMOUD believed that the use of his nephew’s name, Hussein, was useful for

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concealing the money trail. I believe this was most likely a reference to the designation of
Hussein as the owner of Axiom for the purpose of concealing the source of the funds necessary
for the closing. HAMMOUD also told Mukhal that he considered himself to be a “big fish”
with respect to his mortgage dealings over the past seven years.

19, Based on my training and experience, lenders such as Wells Fargo would not have
approved the short sale from HAMMOUD to Mukhal had they known that the sale of 7601
Miller Road was not an arms-length transaction and that there was an agreement between
HAMMOUD and Mukhal that HAMMOUD would continue to live in the property.

Fraudulent Insurance Claim

20. In May 2013, I interviewed Laura Kozlowski (Kozlowski), Insurance Agent,
Grange Insurance, Allen Park, Michigan. On August 8, 2012, an individual identifying himself
as Mukhal called Kozlowski’s office to apply for homeowners insurance for 7601 Miller Road.
The application was returned in person and contained handwriting that I recognize as
belonging to HAMMOUD. The handwritten portion identifies Axiom as the mortgagee and
lists HAMMOUD’: business address for Axiom. HAMMOUD, posing as Mukhal, visited
Kozlowski’s office several times between August 2012 and May 2013 to make cash payments
on the policy. I showed Kozlowski a photographic lineup and she identified HAMMOUD’s
picture as the individual who came to her office posing as Mukhal. Mukhal advised me that he
had never met Laura Kozlowski or visited her office in Allen Park.

21. Grange Insurance provided records related to a flood claim at 7601 Miller Road,
including a recording of the initial claims call. On January 14, 2013, HAMMOUD, purporting
to be Mukhal, calied to report a water damage claim and provided HAMMOUD"s telephone

number as the contact number. HAMMOUD informed Grange Insurance that a water pipe in
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his upstairs bathroom had burst and flooded the home. The initial insurance claim was made
shortly before the balloon payment to Satori Corporation was due.

22. | identified HAMMOUD as the caller by comparing known recordings of
HAMMOUD with Mukhal’s voice, which I am familiar with from interviews and telephone
conversations with Mukhal. HAMMOUD informed Grange Insurance that a water pipe in his
upstairs bathroom had burst and flooded the home. The initial insurance claim was made
shortly before the balloon payment to Satori Corporation was due.

23. Brooks advised in his interview that prior to February 1, 2013, HAMMOUD told
him that he was trying to obtain financing for Mukha! in order to pay off the loan, but was
unsuccessful. HAMMOUD was referencing the 6 month balloon note, due to mature in
February 2013.

24. After 7601 Miller Road flooded, Mukhal advised that HAMMOUD filed the water
damage claim, received the claims checks, signed Mukhal’s name, and deposited the money
into accounts controlled by HAMMOUD. After Mukhal found out about the insurance claim,
HAMMOUD told Mukhal the money was used for repairs, rent, dry cleaning, and to purchase
vehicles, some of which were shipped overseas.

25. Mukhal was shown a lease agreement dated January 15, 2013 that was submitted to
Grange Insurance for reimbursement of rent. The lease agreement was purportedly between
Landlord, Nadia Abdallah, and Tenant, Mukhal, for property address 7107 Oakman, Dearborn,
MI. The monthly rent was $3,500. Mukhal stated he never rented 7107 Oakman and identified
the writing and his signature on the agreement as forgeries. Nadia Abdallah, HAMMOUD’s
sister, has resided at 7107 Oakman, Dearborn, Michigan, for almost ten years. I interviewed

Abdallah who stated that she and her husband never rented their home to anyone and had never
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heard of Mukhal. Abdallah also had no knowledge of the lease agreement and had never seen it
before. She identified the signature on the lease agreement that purported to be hers, was a
forgery. The header on the lease agreement indicates it was faxed to Grange Insurance from
United Realty’s fax. The fax cover page also contained handwriting that I recognized as
HAMMOUD’s.

26. | Mukhal provided me with a copy of a personal property inventory sheet submitted
to Grange Insurance, which HAMMOUD gave to Mukhal. Mukhal advised that the personal
property listed on the inventory sheet belonged to HAMMOUD. The document was faxed to
Grange Insurance from United Realty’s fax. The fax cover page contained handwriting that I
recognized as HAMMOUD’s.

27. [showed Mukhal copies of dry cleaning invoices from Macy’s Cleaners (a dry
cleaning company next door to HAMMOUD’s place of business) and an estimate from Royal
Furniture, which were all in Mukhal’s name and submitted to Grange Insurance as part of the
claim. Mukhal advised that he did not obtain the invoice and estimate and that HAMMOUD
told Mukhal that he obtained a quote from Royal Furniture. These documents were faxed to
Grange Insurance from United Realty’s fax. The fax cover page contained handwriting that I
recognized as HAMMOUD’s.

28. Dan Bailey is the plumber with whom HAMMOUD contracted to replace the
broken supply line in the bathroom at the 7601 Miller Road property. Bailey told me that it was
his opinion that someone intentionally unscrewed the nut of the supply line, which caused the
flood to occur.

29. Mukhal voluntarily provided a recording of a conversation between Mukhal and

HAMMOUD. In the recording. HAMMOUD suspected the FBI was trying to link the short

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sale fraud to the “insurance job”; however the reality is that the insurance company came in,
inspected the house, and verified the damage that was incurred by the broken pipe and it was
all legal and justifiable.

30. Grange Insurance provided copies of eight claims checks totaling $347,748.46,
which were paid as a result of the claim filed in Mukhal’s name. Erik Hobson, Claims
Adjuster, Grange Insurance, advised that each claims check was mailed via the United States
Postal Service from Columbus, Ohio to Billy Mukhal at 7601 Miller Road, Dearborn,

Michigan. The checks paid by Grange Insurance were as follows:

 

 

 

 

 

Date Payable To Amount For
(as written on face of check)
1/17/2013. | Billy Mukhal $1,000 Advance Payment
1/30/2013 | Billy Mukhal $17,500 4 months rent and security
deposit
2/14/2013 | Billy Mukhal and Macy’s Dry | $32,428.66 | Clothing cleaning bill
Cleaning and Laundry
2/20/2013 | Billy Mukhal and Axiom $14,561.60 | Water mitigation

Investment Corp
2/21/2013 | Billy Mukhal and Select One | $47,185.42 | Cleaning Invoice from Select

 

 

 

 

 

 

 

 

 

Contents Restoration Services One
2/21/2013 | Billy Mukhal and Axiom $160,122.44 | ACV* of Structure
Investment Corp
3/8/2013 Billy Mukhal $10,000 Content Advance
3/29/2013 | Billy Mukhal $54,950.34 | ACV

 

* ACV stands for “Actual Cash Value”

31. Bank records revealed six of these checks were deposited into accounts controlled
or owned by HAMMOUD. The check payable to Billy Mukhal and Select One was deposited
by Select One who then paid HAMMOUD approximately $20,000.

32. The check issued February 21, 2013, payable to Billy Mukhal and Axiom for
$160,122.44, was deposited into Axiom’s Comerica Bank account. On March 11, 2013,

paperwork was filed with the State of Michigan and Comcrica Bank designating the official

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Sworn and subscribed before me this 22nd day of July 2014.

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transfer of the ownership of Axiom and its bank account to HAMMOUD. That same day,
HAMMOUD withdrew $153,546.57 from Axiom’s account, the source of which was the claim
check from Grange Insurance. Out of that withdrawal, $126,267.57 was paid to Satori
Corporation via a cashier’s check, remitter 7601 Miller Payoff. The remaining funds were used
to purchase seven vehicles, some of which were shipped overseas.

33. Erik Hobson, Claims Adjuster, Grange Insurance, advised me that the homeowners
insurance policy for 7601 Miller Road in Mukhal’s name would not have been written had
Grange Insurance known that Mukhal did not actually own the property.

34, Based on the foregoing, there is probable cause to believe that FADI HAMMOUD
knowingly executed a scheme to defraud Wells Fargo Bank and Grange Insurance in violation

of 18 U.S.C. §§ 1341 (mail fraud) and 1344 {kank fraud).

ul

Mark A. Kroger |
Special Agent, Féderal Bureau of Investigation

 

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HONORABLE DAVID R. GRAND
United States Magistrate Judge
Eastern Judicial District of Michigan

 

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